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Case 2:07-cr-01048-VBF Document 84 Filed 10/28/08 Page1of13 Page ID #:178

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UNITED STATES DISTRICT COURT

FOR THE CENTRAL DISTRICT OF CALTFORNTA

UNITED STATES OF AMERICA, CR No. 07-1048-VBF

Plaintiff, PLEA AGREEMENT FOR DEFENDANT
JAMES LANZO TURNER IV
Vv.

JAMES LANZO TURNER IV,
et al.,

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Defendants. }
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1. This constitutes the binding plea agreement between
JAMES LANZO TURNER IV (“defendant”) and the United States
Attorney's Office for the Central District of California (“the
USAO”) in the above~captioned case. This agreement is limited to
the USAO and cannot bind any other federal, state or local

prosecuting, administrative or regulatory authority.

 

 
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Case 2:07-cr-01048-VBF Document 84 Filed 10/28/08 Page 2o0f13 Page ID #:179

PLEA

 

2. Defendant agrees to plead guiity to Count One of the
indictment in United States v. James Lanzo Turner IV, et al.,
CR No. O7-L048-VBF.

NATURE OF THE OFFENSE

 

3. In order for defendant to be guiity of Count One,
which charges a violation of Titie 21, United States Code,
Sections @46, 841 (a) (1), and 841 (>) (1) (B) (1), the following must
be true:

{1} within the dates specified in the indictment, there
was an agreement between two or more persons to possess with
intent to distribute and distribute at least 100 grams of a
imixture or substance containing a detectable amount of heroin, in
violation of Title 21, United States Code, Sections 841(a) (1) and
841 (>) (1) (B} Ci}; and

(2) defendant became a member of the conspiracy Knowing
of at least one of its objects, to wit, the distribution of
heroin, and intending to help accomplish it.

Defendant admits that defendant is, in fact, guiity of this
offense as described in Count One of the indictment.

4, Moreover, in order for defendant to be subject to the
statutory maximum and statutory minimum sentence set forth below,
the government must prove beyond a reasonable coubt that the
conspiracy involved the possession with intent to distribute or
distribution of at least 100 grams of a mixture or substance
containing a detectable amount of heroin. Defendant admits that

defendant, in fact, conspired to distribute at least 100 grams of

 

 
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Case 2:07-cr-01048-VBF Document 84 Filed 10/28/08 Page 3o0f13 Page ID #:180

a mixture or substance containing a detectable amount of heroin,
as described in Count One of the indictment.
PENALTIES

5, he statutory maximum sentence that the Court can impose
For this violation of Title 21, United States Code, Sections 846,
S41 ¢a) (1), and 8415) (1) (8) (i), as described in Count One, as 40
years imprisonment, a lifetime period of supervised release; a
fine of $2,000,000 or twice the gross gain or gross loss
resulting from the offense, whichever is greatest, anda
mandatory special assessment of $100.00.

6. The statutory mandatory minimum sentence that the Court
lmust impose for this violation of Title 21, United States Code,
Sections 846, 841{a}(1), and 841 (b) (1) (B) (i), as described in
Count One, is 5 years imprisonment, followed by at least 4 years
supervised release.

7. Under Title 21 United States Code, Section 862a,
defendant will not be eligible for assistance under state
programs funded under the Social Security Act or Federal Food
Stamp Act and will not be eligible for federal food stamp program
benefits: furthermore, any such benefits or assistance received
by defendant's family members will be reduced to reflect
defendant's ineligibility.

8. Supervised release is a period of time following
imprisonment during which defendant will be subject to various
restrictions and requirements. Defendant understands that if
defendant violates one or more of the conditions of any
supervised release imposed, defendant may be returned to prison

for all or part of the term of supervised release, which couid

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Case 2:07-cr-01048-VBF Document 84 Filed 10/28/08 Page 4of13 Page ID #:181

result in defendant serving a total term of imprisonment greater
than the statutory maximum stated above.

$9, Defendant also understands that, by pleading guilty,
defendant may be giving up valuable government benefits and
valuable civic rights, such as the right to vote, the right to
possess a firearm, the right to hold office, and the right to
serve on a jury.

10. Defendant further understands that the conviction in
this case may subject defendant to various collateral
consequences, including but not limited to deportation,
revocation of probation, parole, or supervised release in another
case, and suspension or revocation of a professionali license.
Defendant understands that unanticipated collateral consequences
will not serve as grounds to withdraw defendant's guiity plea.

FACTUAL BASIS

11. Defendant and the USAC agree and stipulate to the
statement of facts provided below. This statement of facts is
sufficient to support a plea of guilty to the charge described in
this agreement and to establish the sentencing guideline factors
set forth in paragraph 14 below. It is not meant to be a
complete recitation of all facts relevant to the underlying
criminal conduct or all facts known to either party that relate
to that conduct.

Beginning on or about January 28, 2006, and continuing until
February 5, 2006, in Los Angeles County, within the Central
District of Califernia, and elsewhere, defendant, David Cole,
Jr., Charles Leroy Twyman, Lashawn Andrea Lynch, Mike LNU, and

other persons entered into an agreement to possess with intent to

 

 
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Case 2:07-cr-01048-VBF Document 84 Filed 10/28/08 Page5of13 Page ID #:182

distribute and distribute heroin. In furtherance of this
conspiracy, defendant and Charles Leroy Twyman arranged for Mike
LNU to provide approximately 239 grams of heroin to Cole, who
would in turn provide the drug to Lynch. Defendant instructed
Charles Leroy Twyman to obtain an airplane ticket for Lynch in
Los Angeles County, for travel from Los Angeles to Memphis,
Tennessee, where defendant lived. Defendant also instructed
Charlies Leroy Twyman to give Lynch $100 and some cocaine (2.58
grams) to calm her nerves.

Cole obtained the approximately 239 grams of heroin and on
or about February 3, 2006, at defendant's request, Cole gave
approximately 239 grams of heroin to Lynch. However, before
Lynch could deliver the heroin to defendant, she was arrested at
Los Angeles International Airport.

Following Lynch's arrest and the seizure of the 239 grams of
heroin, defendant told Charles Leroy Twyman on the telephone that
Charles Leroy Twyman needed to get Lynch out of jail. Defendant
also related that he was trying to get money together to give to
his heroin supplier.

WAIVER OF CONSTITUTIONAL RIGHTS

12. By pleading guilty, defendant gives up the following

rights:

a) The right to persist in a plea of not guilty.

b) The right to a speedy and public trial by jury.

c) The right to the assistance of legal counsei at
trial, including the right to have the Court appoint counsel for
defendant for the purpose of representation at trial. (In this

regard, defendant understands that, despite his plea of gquiity,

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Case 2:07-cr-01048-VBF Document 84 Filed 10/28/08 Page 6of13 Page ID #:183

he retains the right to be represented by counsel -~ and, if
necessary, to have the court appoint counsel if defendant cannot
afford counsel -- at every other stage of the proceeding.)

d} The right to be presumed innocent and to have the
burden of proof placed on the government to prove defendant
guilty beyond a reasonable doubt.

e) The right to confront and cross-examine witnesses
against defendant.

f) The right, if defendant wished, to testify on
defendant's own behalf and present evidence in opposition to the
charges, including the right to call witnesses and to subpoena
those witnesses to testify.

g) The right not to be compelled to testify, and, if
defendant chose not to testify or present evidence, to have that
choice not be used against defendant.

By pleading guilty, defendant also gives up any and ail
rights to pursue any affirmative defenses, Fourth Amendment or
Fifth Amendment claims, and other pretrial motions that have peen
filed or covid be filed.

SENTENCING FACTORS

13. Defendant and the USAO agree that an appropriate
disposition of this case is that the court impose a sentence of
84 months imprisonment; 4 years supervised release (with
conditions to be fixed by the Court; no fine; $ 100 special
assessment: and no restitution. The parties also agree that no
prior imprisonment (other than credits that the Bureau of Prisons
may allow under 18 U.S.C. § 3585(b)) may be credited against this

stipulated sentence, including credit under Sentencing Guideline

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Case 2:07-cr-01048-VBF Document 84 Filed 10/28/08 Page 7of13 Page ID #:184

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14. The Court will determine the facts and calculations
relevant to sentencing and decide whether to agree to be bound by
this agreement. Both defendant and the USAO are free to: (a)
supplement the facts by supplying relevant information to the
United States Probation Office and the Court, and {6} correct any

and all factual misstatements relating to the calculation cf the

sentence.
15. Defendant understands and agrees that this agreement is
entered into pursuant to Federal Rule of Criminal Procedure

lil{c){1) (Cc). Se long as defendant does not breach the agreement,
defendant may withdraw from this agreement and render it nuil and
void if the Court refuses to be bound by this agreement. The
USAO may, in its discretion, withdraw from this agreement and
render it null and void if the defendant breaches this agreement
or the Court refuses to be bound by this agreement.
DEFENDANT'S OBLIGATIONS

16. Defendant agrees that he will:

a} Plead guilty as set forth in this agreement.

b) Not knowingly and willfully fail to abide by ail
sentencing stipulations contained in this agreement.

c) Not knowingly and wilifully fail to: (i) appear for
all court appearances, (ii} surrender as ordered for service of
sentence, {iii) obey all conditions of any bond, and (iv) obey
any other ongoing court order in this matter.

a) Not commit any crime; however, offenses which would
be excluded for sentencing purposes under U.S.S.G. §$ 4Al.2{(c) are

not within the scope of this agreement.

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Case 2:07-cr-01048-VBF Document 84 Filed 10/28/08 Page 8of13 Page ID #:185

e) Not knowingly and willfully fail to be truthful at
all times with Pretrial Services, the U.S. Probation Office, and
the Court.

£) Pay the applicable special assessment at or before
the time of sentencing unless defendant lacks the ability to pay
and submits a completed financial statement (form OBD-500) to the
USAO prior to sentencing.

THE USAC'S OBLIGATIONS

iv. of

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defendant complies fully with all defendant's
obligations under this agreement, the USAO agrees:

a) To abide by all sentencing stipulations contained in
this agreement.

b) At the time of sentencing, provided that defendant
demonstrates an acceptance of responsibility for the otfense up
to and including the time of sentencing, to recommend a two-level
reduction in the applicable sentencing guideline offense level,
pursuant to U.S.S.G. § 3E1.1, and to recommend and, if necessary,
move for an additional one-level reduction if available under
that section.

a. Except for criminal tax violations (including
conspiracy to commit such violations chargeable under Title 18,
United States Code, Section 371), not to further prosecute
defendant for violations of drug-trafficking arising out of
defendant's conduct described in the stipulated factual basis set
forth in paragraph 11 above. Defendant understands that the USAQ
is free to prosecute defendant for any other unlawful past
conduct or any unlawful conduct that occurs after the date of

this agreement. Defendant agrees that at the time of sentencing

 

 
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Case 2:07-cr-01048-VBF Document 84 Filed 10/28/08 Page9of13 Page ID #:186

the Court may consider the uncharged conduct in determining the
applicable Sentencing Guidelines range, where the sentence should
fall within that range, the propriety and extent of any departure
from that range, and the determination of the sentence to be
imposed after consideration of the sentencing guidelines and all
other relevant factors.

d. To not file an enhancement pursuant te Title Zl,
United States Code, Section 651.

@. To recommend that Court impose a sentence of
84 months.

BREACH OF AGREEMENT
18. Tf defendant, at any time after the execution of this

agreement, knowingly violates or fails to perform any of
defendant's agreements or obligations under this agreement ("a
breach”), the USAO may declare this agreement breached. If the
USAO declares this agreement breached at any time following its
execution, and the Court finds such a breach to have occurred,
then: (a) if defendant has previously entered a guilty plea,
defendant will not be able to withdraw the guilty plea, and (b)

the USAO will be relieved of all of its obligations under this

agreement.
19. Following the Court’s finding of a knowing and willful
breach of this agreement by defendant, should the USAO elect to

pursue any charge that was either dismissed or not filed as a
result of this agreement, then:

a) Defendant agrees that any applicable statute of
limitations is tolled between the date of defendant’s signing of

this agreement and the commencement of any such prosecution or

 

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Case 2:07-cr-01048-VBF Document 84 Filed 10/28/08 Page 10o0f13 Page ID #:187

b} Defendant gives up all defenses based on the statute
of limitations, any claim of pre-indictment delay, or any speedy
trial claim with respect to any such prosecution [or action],
except to the extent that such defenses existed as of the date of
defendant’s signing this agreement.

©} Defendant agrees that: (1) any statements made by
defendant, under oath, at the guilty plea hearing (if such a
hearing occurred prior to the breach); (11) the stipulated
factual basis statement in this agreement; and (111) any evidence
derived from such statements, are admissible against defendant in
any such prosecution of defendant, and defendant shall assert no
claim under the United States Constitution, any statute, Rule 410
of the Federal Rules of Evidence, Rule 11(f) of the Federal Rules
of Criminal Procedure, or any other federal rule, that the
statements or any evidence derived from any statements should be
suppressed or are inadmissible.

WAIVER OF APPEAL AND COLLATERAL ATTACK

20. Defendant gives up the right to appeal any sentence
imposed by the Court, and the manner in which the sentence is
determined, provided that the sentence is within the statutory
maximum specified in paragraph 5 above and is constitutional.
Defendant also gives up any right to bring a post-conviction
collateral attack on the conviction or sentence, except a
post~conviction collateral attack based on a claim of ineffective
assistance of counsel, a claim of newly discovered evidence, or
an explicitly retroactive change in the applicable Sentencing

Guidelines, sentencing statutes, or statutes of conviction.

 

 
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Case 2:07-cr-01048-VBF Document 84 Filed 10/28/08 Page 11of13 Page ID #:188

Notwithstanding the foregoing, cefendant retains the ability te
appeal the conditions of supervised release imposed by the Court,
with the exception of the following: conditions set forth in
General Orders 318 and 01-05 of this Court; the drug testing
cencaitions mandated by Title 18, United States Code, Sections
3563 (a) (5) and 3583(d); and the alcohol and drug use conditions
authorized by Title 18, United States Code, Section 2563 {b) {7}.

2i. This agreement does not affect in any way the right of
the USAO to appeal the sentence imposed by the Court.

RESULT OF VACATUR, REVERSAL OR SET-ASIDE

22, Defendant agrees that if any count of conviction is
yacated, reversed, or set aside, the USAO may: {a} ask the Court
to resentence defendant on any remaining count of conviction,
with both the USAO and defendant being released From any
stipulations regarding sentencing contained in this agreement,
{b) ask the Court to void the entire plea agreement and vacate
defendant's guilty plea on any remaining count cf conviction,
with both the USAO and defendant being released from all of their
obligations under this agreement, or {c) leave defendant's
remaining conviction, sentence, and plea aqreement intact.
Defendant agrees that the choice among these three options rests
in the exclusive ciscretion of the USAO,.

COURT NOT A PARTY

23. The Court is not a party to this agreement and need not
accept any of the USAO's sentencing recommendations or the
parties’ stipulations. Even if the Court ignores any sentencing
recommendation, finds facts or reaches conclusions different from

any stipulation, and/or imposes any sentence up to the maximum

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Case 2:07-cr-01048-VBF Document 84 Filed 10/28/08 Page 12o0f13 Page ID #:189

established by statute, defendant cannot, for that reason,
Withdraw defendant's guilty plea, and defendant will remain bound
to fulfill all defendant's obligaticns under this agreement. No
one -- not the prosecutor, defendant's attorney, or the Court --
can make a binding prediction or promise regarding the sentence
defendant will receive, except that it will be within the
statutory maximum.
NO ADDITIONAL AGREEMENTS

24. Except as set forth herein, there are no promises,
understandings or agreements between the USAOQ and defendant or
defendant's counsel. Nor may any additional agreement
understanding or condition be entered inte unless in a writing
signed by all parties or on the record in court.

PLEA AGREEMENT PART OF THE GUILTY PLEA HEARING

25. The parties agree and stipulate that this Agreement
will be considered part of the record of defendant's guilty plea
hearing as if the entire Agreement had been read into the record
of the proceeding.

This agreement is effective upon signature by defendant and
an Assistant United States Attorney.
AGREED AND ACCEPTED

UNITED STATES ATTORNEY'S OFFICE
FOR THE CENTRAL DISTRICT OF CALIFORNIA

THOMAS, P. O'BRIEN A
United States sAttorney if

   

       

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SOHN J. WOLETTAN >
Assistant United. Stites “ateotney
SHAWN JJ: NELSON |
Special | Assistant United states Attorney

 

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Case 2:07-cr-01048-VBF Document 84 Filed 10/28/08 Page 130f13 Page ID #:190

T have read this agreement and carefully discussed every
part of it with my attorney. I understand the terms of this
agreement, and I voluntarily agree to those terms. My attorney
has advised me of my rights, of possible defenses, of the
sentencing factors set forth in Title 18, United States Code,
Section 3553(a), of the relevant Sentencing Guidelines
provisions, and of the consequences of entering into this
agreement. No promises or inducements have been given to me
other than those contained in this agreement. No one has
threatened or forced mé in any way to enter into this agreement.
Finally, I am satisfied with the representation of my attorney in

this matter.

 

 

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A Len JO - R7-O8
JAMES LANZO TURNER IV Date
ipefendant

i am James Lanzo Turner, [IV's attorney. I have carefully
discussed every part of this agreement with my client. Further,
fo ohave fully advised my client of his rights, of possible
defenses, of the sentencing factors set forth in Title 18, United
States Code, Section 3553 (a), of the relevant Sentencing
Guidelines provisions, and of the consequences of entering into
tnis agreement. To my knowledge, my client's decision to enter

inte this agreement is an informed and voluntary one.

  

 

 

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CORNELL J. PRG Ss eo Date

27 ICounsel for“Béfendant

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JAMES LANZ@ TURNER IV

 

 
